                   Tom Doering          MORTON COUNTY
                   Morton County               OFFICE OF
                 Emergency Manager        Emergency ?-,,ianagement

      210 2nd AVENUE N.W. ~ MANDAN, NORTH DAKOTA 58554 ~ PHONE (701) 667-3307


                            EMERGENCY DECLARATIO N
                             DAKOTA ACCESS PIPELINE
                                 CIVIL UNREST
                                         August 15, 2016

        WHEREAS, the Morton County Board of Commissioners recognizes that due to the
civil unrest occurring at the location of the Dakota Access Pipeline construction site which will
require extraordinary manpower and other resource expenditures; and

       WHEREAS, the impact of civil unrest could threaten the health, well-being, and safety
of responders and the public; and

       WHEREAS, all available resources remain committed to protecting life and property;
and

       WHEREAS, the cost of response may be in excess of available budgeted resources; and


       NOW, THEREFORE, BE IT RESOLVED, that the Morton County Board of
Commissioners declares an Emergency and implements its emergency plans and processes in
response to anticipated ongoing civil unrest.

       DATED at Mandan, North Dakota this 15th day of August, 2016.




                                     Cody Schulz, Chairman
                                     Morton County Commission




                                                                            EXHIBIT O
